Case 2:17-cv-04609-RAO Document 85-1 Filed 04/27/21 Page 1 of 2 Page ID #:751



   1

   2

   3

   4

   5

   6

   7

   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10   HUNG V. VU, D.D.S., A                 Case No.: 2:17-cv-04609-RAO
       PROFESSIONAL DENTAL CORP.,
  11   d/b/a Vu Orthodontics,                CLASS ACTION
  12               Plaintiff,                [PROPOSED] ORDER
                                             CONCERNING NOTICE BY
  13         vs.                             PUBLICATION RE:
                                             SETTLEMENT AND
  14   ICARE CREDIT SOLUTIONS, LLC,          SUBSEQUENT CASE SCHEDULE
       d/b/a iCare Financial LLC; and DOES
  15   1 – 10, inclusive;
                                             Complaint Filed: February 16, 2017
  16               Defendants.               Trial: None currently Scheduled
  17

  18

  19
  20

  21

  22

  23

  24

  25

  26
  27

  28


       [PROPOSED] ORDER CONCERNING NOTICE BY PUBLICATION RE: SETTLEMENT
                        AND SUBSEQUENT CASE SCHEDULE
Case 2:17-cv-04609-RAO Document 85-1 Filed 04/27/21 Page 2 of 2 Page ID #:752




   1         The Court, having considered the Joint Status Report re Publication Notice
   2   of Settlement filed by Plaintiff Hung V. Vu, D.D.S., A Professional Dental
   3   Corp., d/b/a Vu Orthodontics, on behalf of the settlement class (“Plaintiff”), and
   4   Defendant iCare Credit Solutions, LLC, d/b/a iCare Financial LLC (“iCare” or
   5   “Defendant”) (collectively, the “Parties”), and for good cause appearing, hereby
   6   rules as follows:
   7        (1)    As set forth in Exhibit “2” to the Parties’ Joint Status Report, the
   8               Parties’ proposed text for the notice by publication to the settlement
   9               class is approved;
  10        (2)    Plaintiff is to set up the advertising with the ADA News to give the
  11               putative class notice of the proposed settlement through publication.
  12               Plaintiff shall ensure that the notice is published three times by the
  13               ADA News in the three issues set to be released in the third week of
  14               June 2021, the first week of July 2021, and the third week of July
  15               2021;
  16        (3)    Settlement class members shall have until August 13, 2021 to initiate
  17               contact with the settlement administrator for purposes of receiving a
  18               claim form. Settlement class members shall, however, have until
  19               September 3, 2021 to submit their claim forms to the settlement
  20               administrator or opt-out from the settlement; and
  21        (4)    Plaintiff shall file his Amended Motion for Final Approval of Class
  22               Action Settlement and Motion for Attorneys’ Fees, Costs, and
  23               Enhancement Award by September 17, 2021 with a hearing set for
  24               October 15. 2021 at 10:00 a.m.
  25         IT IS SO ORDERED.
  26
  27   DATED: _______________                 ___________________________________
                                              THE HON. ROZELLA A. OLIVER
  28                                          Judge of the Central District of California
                                      2
       [PROPOSED] ORDER CONCERNING NOTICE BY PUBLICATION RE: SETTLEMENT
                        AND SUBSEQUENT CASE SCHEDULE
